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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

RAMCHANDRA ADHIKARI, et al.,                  §
                                              §
        Plaintiffs,                           §
                                              §
VS.                                           §      CIVIL ACTION NO. 4:09-CV-1237
                                              §
DAOUD & PARTNERS, et al.,                     §
                                              §
        Defendants.                           §
                                              §


                               MEMORANDUM AND ORDER

        The Court revisits, one final time, two summary judgment rulings in favor of KBR1 in

this devastating human trafficking case. Plaintiffs believe that the Court erred when it granted

judgment to KBR on their Trafficking Victims Protection Reauthorization Act (“TVPRA”) and

Alien Tort Statute (“ATS”) claims. Plaintiffs urge rehearing and, as to their ATS claim, leave to

amend. (Doc. Nos. 672, 685/686.)

        For the reasons stated below, and because of controlling law and the facts as elucidated

by Plaintiffs, the Court cannot grant relief. Perhaps the Court has too conservatively interpreted

the limitations placed on it by Congress and the United States Supreme Court; if so, however, the

best recourse it can offer Plaintiffs is a direct path to the Fifth Circuit Court of Appeals.

Plaintiffs’ Motion for Rehearing Pursuant to Fed. R. Civ. P. 54(b) of This Court’s January 2014

Order (Doc. No. 672) and Motion for Rehearing on Their ATS Claims against KBR and for


1
 “KBR” refers to several related corporate entities, all named as Defendants in this case. These
defendants are Kellogg Brown and Root, Inc.; Kellogg Brown & Root Services, Inc.; KBR, Inc.;
KBR Holdings, LLC; Kellogg Brown & Root LLC; KBR Technical Services, Inc.; Kellogg
Brown & Root International, Inc.; Service Employees International, Inc.; and Overseas
Administration Services.
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Leave to Amend (Doc. No. 685/686) are DENIED. The Court reaches this conclusion

notwithstanding its wholehearted sympathy with the victims and their families.

I.      LEGAL STANDARD

        Though the Federal Rules of Civil Procedure do not themselves specifically provide for a

motion for reconsideration, such motions nevertheless are entertained under the Rules. Plaintiffs

state that they are seeking “rehearing” under Rule 54(b), which permits the Court to reexamine

its prior interlocutory rulings “for any reason it deems sufficient.” United States v. Renda, 709

F.3d 472, 479 (5th Cir. 2013) (internal quotation marks and citation omitted). Motions for

reconsideration from interlocutory orders are governed by the standards for Rule 59(e) motions.

Thakkar v. Balasuriya, 2009 WL 2996727, at *1 (S.D. Tex. Sept. 9, 2009).

        A motion under Rule 59(e) must “‘clearly establish either a manifest error of law or fact

or must present newly discovered evidence.’” Ross v. Marshall, 426 F.3d 745, 763 (5th Cir.

2005) (quoting Simon v. United States, 891 F.2d 1154, 1159 (5th Cir. 1990)). Relief is also

appropriate where there has been an intervening change in the controlling law. See Schiller v.

Physicians Resource Group Inc., 342 F.3d 563, 567 (5th Cir. 2003). Motions under Rule 59(e)

“‘cannot be used to raise arguments which could, and should, have been made before the

judgment issued.’” Id. (quoting Rosenzweig v. Azurix Corp., 332 F.3d 854, 863 (5th Cir. 2003)).

In considering a motion for reconsideration, a court “must strike the proper balance between two

competing imperatives: (1) finality, and (2) the need to render just decisions on the basis of all

the facts.” Edward H. Bohlin Co., Inc. v. Banning Co., Inc., 6 F.3d 350, 355 (5th Cir. 1993).

II.     BACKGROUND FACTS

        For purposes of context, the Court repeats the statement of facts included in its August

2013 and January 2014 summary judgment orders. As the current motions are for



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reconsideration, the Court will not include allegations or facts not presented to the Court for

consideration on summary judgment.

       This case is brought by Plaintiff Buddi Prasad Gurung and the surviving family members

of twelve other men: Prakash Adhikari, Ramesh Khadka, Lalan Koiri, Mangal Limbu, Jeet

Magar, Gyanendra Shrestha, Rajendra Shrestha, Budhan Sudi, Manoj Thakur, Sanjay Thakur,

Bishnu Thapa, and Jhok Bahadur Thapa (collectively, the “Deceased Plaintiffs”). All Plaintiffs

are Nepali citizens and currently reside in Nepal.

       Plaintiffs allege that KBR and Defendant Daoud & Partners (“Daoud”) engaged in a

scheme to traffic the Plaintiffs from Nepal to Iraq, where one KBR subsidiary served as a

contractor with the United States government to perform specific duties at United States military

facilities. According to Plaintiffs, Defendants “established, engaged and/or contracted with a

network of suppliers, agents, and/or partners in order to procure laborers from third world

countries.” (Doc. No. 58 (“First Am. Compl.”), at ¶ 54.)

        The Deceased Plaintiffs, whose ages ranged from 18 to 27, were recruited from their

places of residence by Moonlight Consultant Pvt, Ltd., a recruiting company based in Nepal. (Id.

¶ 62.) Most of the men were told that they would be employed by a luxury hotel in Amman,

Jordan. (Id. ¶ 63.) Some were told that that they would be working in an American camp. (Id.)

Although there is no indication that they were told where the camp would be, the Deceased

Plaintiffs’ family members assumed that they were going to the United States. (Id.) All of the

men were led to believe that they would not be placed in a dangerous location, and that, if they

found themselves in a dangerous area, they would be sent home at the employer’s expense. (Id.)

They were promised a salary of approximately $500 per month. (Id. ¶ 64.) The men and their




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families incurred substantial debt to pay the brokerage fees in seeking out this employment. (Id.

¶ 65.)

         After they were recruited, the Deceased Plaintiffs were then transferred to the custody of

Morning Star for Recruitment and Manpower Supply (“Morning Star”), a Jordanian job

brokerage company that operates in Amman. (Id. ¶ 66.) Morning Star housed the Deceased

Plaintiffs upon their arrival in Jordan and arranged for their transfer to Iraq. (Id. ¶ 59.) Morning

Star then transferred the Deceased Plaintiffs to Daoud. (Id.) The men were held in Jordan by

agents of Daoud, and were required to turn over their passports to Daoud. (Id. ¶¶ 67-68.) It was

there that the Deceased Plaintiffs first discovered that they were actually being sent to work at Al

Asad, north of Ramadi, Iraq. (Id. ¶ 70.) Several of the men phoned relatives in Nepal, expressing

concern and fear about their futures. (Id. ¶¶ 70-71.) At least one of the Deceased Plaintiffs

informed his family that he and the other men were being kept in a dark room and were unable to

see. (Id. ¶ 72.) In Jordan, the men were also informed for the first time that they would be paid

only three quarters of what they were initially promised. (Id. ¶ 73.) Although they wanted to

return home to Nepal, rather than proceed into the Iraqi war zone, the men were compelled to

proceed to Iraq because of the debts that their families had assumed to pay the brokers. (Id. ¶ 74.)

         Daoud transported the Deceased Plaintiffs into Iraq on or about August 19, 2004, via an

unprotected automobile caravan of seventeen vehicles. (Id. ¶ 75.) They traveled along the

Amman-to-Baghdad highway, which was known at the time to be a highly dangerous route. (Id.

¶¶ 76-81.) As they were nearing Al Asad, the two lead cars in which the Deceased Plaintiffs

were being transported were stopped by a group of men who later revealed themselves to be

members of the Ansar al-Sunna Army, an insurgent group in Iraq. (Id. ¶¶ 81-83.) The men told




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the drivers to leave the Deceased Plaintiffs at the checkpoint, and that the Americans would

come from the base to pick them up. (Id. ¶ 81.)

       Between August 20 and August 24, the Ansar al-Sunna Army posted an internet

statement that it had captured the Deceased Plaintiffs, posted pictures of the Deceased Plaintiffs,

and sent a video of ten of the Deceased Plaintiffs to the Foreign Ministry of Nepal. (Id. ¶¶ 83-

86.) Many of the family members of the Deceased Plaintiffs saw the images broadcast on Nepali

television. (Id. ¶ 85.) In the video, the Deceased Plaintiffs describe their trip to Iraq, stating that

they “were kept as captives in Jordan at first,” were not allowed to return home, and were forced

to go to Iraq. (Id. ¶ 86.) One man in the video says, “I do not know when I will die, today or

tomorrow.” (Id.)

       On or about August 31, 2004, international media outlets broadcasted video of the Ansar

al-Sunna Army executing the Deceased Plaintiffs. (Id. ¶ 87.) The group beheaded one of the

men, and shot the other eleven men, one by one, in the back of their heads. (Id.) The families of

Deceased Victims saw the execution video, which caused them great emotional distress. (Id. ¶

88.) The bodies of the Deceased Plaintiffs were never found. (Id. ¶ 89.)

       Like the Deceased Plaintiffs, Plaintiff Gurung was recruited from his residence in Nepal.

(Id. ¶ 91.) He was sent to Delhi, India for twenty days and then went on to Amman, Jordan for

another twenty days. (Id.) Mr. Gurung was transported to Iraq as part of the same caravan in

which the Deceased Plaintiffs were also traveling. (Id. ¶ 92.) Mr. Gurung’s car was not captured

by the insurgents, and he arrived at Al Asad as scheduled. (Id. ¶ 93.) There, he was supervised by

KBR in his duties as a warehouse loader/unloader. (Id.) Upon learning about the death of the

Deceased Plaintiffs, Mr. Gurung became frightened and expressed his desire to return to Nepal.

He was told by both Daoud and KBR that he could not leave until his work in Iraq was complete.



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(Id. ¶ 94.) After fifteen months, during which he experienced frequent mortar fire without

protection, Mr. Gurung was permitted to return to Nepal. (Id. ¶¶ 95-96.)

III.     ANALYSIS

         A.     Plaintiffs’ ATS Claim

         The Court granted summary judgment on Plaintiffs’ ATS claim based on the presumption

against extraterritoriality, which the Supreme Court applied to the ATS in Kiobel v. Royal Dutch

Petroleum Company, 133 S. Ct. 1659 (2013). (Doc. No. 614/617, at 11-12.) This Court found

“KBR’s corporate presence” in the U.S. and its “domestic conduct” insufficient to rebut the

presumption, concluding that KBR was entitled to judgment because “all relevant conduct by

Daoud and KBR occurred outside of the United States.” (Id. at 12 (emphasis added).)

         Plaintiffs suggest that the Court misconstrued Kiobel as embracing a bright-line rule

which prohibits the extraterritorial application of the ATS in all cases, regardless of the specific

facts and circumstances. They emphasize the conclusion of the Supreme Court’s majority

opinion, which indicated that the “presumption against extraterritorial application” could be

“displace[d]” by ATS claims that “touch and concern the territory of the United States . . . with

sufficient force.” Kiobel, 133 S. Ct. at 1669. Plaintiffs also point to judicial authority postdating

the Court’s summary judgment ruling on the ATS claim, in which district and circuit courts

outside the Fifth Circuit employ a fact-intensive analysis to determine whether claims “touch and

concern” the territory of the United States with enough “force” to displace the presumption. On

this authority, as well as Kiobel, they seek reconsideration of the Court’s decision to award

summary judgment to KBR on Plaintiffs’ ATS claim. (Doc. No. 685/686, at 6-8.) The Court

does, of course, welcome the additional case authority that has been generated since its last




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decision. Indeed, part of the delay in issuing this decision has been to see if new decisional

authority might bolster Plaintiffs’ legal position.

       The Court wishes to clarify any ambiguity in its summary judgment ruling. The Court did

not, and does not wish to, embrace a bright-line rule. It considered the arguments raised by

Plaintiffs regarding the points of connection between their ATS claim and the territory of the

United States—arguments reiterated throughout Plaintiffs’ motion for reconsideration. It

reviewed the record evidence. It ruled on evidentiary objections. And it ultimately concluded that

the conduct “relevant” to the ATS claim occurred outside of the United States. (Doc. No.

614/617, at 12.)

       In reaching this conclusion, the Court heeded the guidance of the Supreme Court that the

presumption against extraterritoriality is often “not self-evidently dispositive” and “requires

further analysis” when some domestic conduct is involved. See Morrison v. Nat’l Australia Bank

Ltd., 561 U.S. 247, 266 (2010). The Supreme Court acknowledged that few cases will arrive in

federal court without any domestic ties. See id. (“For it is a rare case of prohibited extraterritorial

application that lacks all contact with the territory of the United States.”). The Supreme Court

therefore instructed lower courts to consider whether the alleged domestic conduct coincides

with the “‘focus’ of congressional concern.” See id.2 In the case of the ATS, the focus of

congressional concern is the “tort . . . committed in violation of the law of nations or a treaty of

the United States.” 28 U.S.C. § 1350.

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  The Ninth Circuit has expressed doubt that the majority opinion in Kiobel “incorporate[d]
Morrison’s focus test,” suggesting that the “touch and concern” language used by the Court
indicated a different test than that employed in Morrison. See Doe I v. Nestle USA, Inc., 766 F.3d
1013, 1028 (9th Cir. 2014). This Court reads Kiobel differently. As highlighted by Judge
Rawlinson in her partial concurrence and partial dissent, id. at 1035, Kiobel specifically cited the
passage in Morrison applying the “focus test” in support of the pronouncement that claims must
“touch and concern the territory of the United States . . . with sufficient force to displace the
presumption against extraterritorial application.” 133 S. Ct. at 1669.
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       The tort here is human trafficking. As described above, the trafficking occurred in Nepal;

Jordan; Iraq; and points in transit between and among these foreign locations. Even assuming

that Daoud and other subcontractors operated as agents of KBR in enticing and then entrapping

third country nationals as cheap labor for the Iraqi war zone, those activities unquestionably

occurred on foreign soil. Plaintiffs can no more pursue an ATS claim against KBR based on

those extraterritorial actions than they can pursue an ATS claim against Daoud. See In re South

African Apartheid Litig., --- F. Supp. 2d ----, 2014 WL 4290444, at *5 (S.D.N.Y. Aug. 28, 2014)

(“Here, any alleged violation of international law norms was inflicted by the South African

subsidiaries over whom the American defendant corporations may have exercised authority and

control. While corporations are typically liable in tort for the actions of their putative agents, the

underlying tort must itself be actionable. However, plaintiffs have no valid cause of action

against the South African subsidiaries under [Kiobel] because all of the subsidiaries’ conduct

undisputedly occurred abroad.”).

       Plaintiffs seek a result on their ATS claim against KBR different from the result on their

ATS claim against Daoud, based on the fact that KBR is a U.S. national while Daoud is not. But

the Court cannot agree that this distinction has dispositive effect in the application of the

presumption against extraterritoriality. See Cardona v. Chiquita Brands Int’l, Inc., 760 F.3d

1185, 1189 (11th Cir. 2014) (rejecting attempt to “anchor ATS jurisdiction in the nature of the

defendants as United States corporations”); Balintulo v. Daimler AG, 727 F.3d 174, 190 (2d Cir.

2013) (“Lower courts are bound by [the rule announced in Kiobel] and they are without authority

to ‘reinterpret’ the Court’s binding precedent in light of irrelevant factual distinctions, such as

the citizenship of the defendants.”) (emphasis added); Doe v. Exxon Mobil Corp., --- F. Supp. 3d




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----, 2014 WL 4746256, at *12 (D.D.C. Sept. 23, 2014) (concluding that “the presumption

against extraterritoriality is not displaced by a defendant’s U.S. citizenship alone”).

       Finally, Plaintiffs argue that this Court’s ruling on the ATS claim against KBR is at odds

with the reasoning of the Fourth Circuit in another case concerning atrocities committed in the

course of the Iraqi war, Al Shimari v. CACI Premier Technology, Inc., 758 F.3d 516 (4th Cir.

2014). Plaintiffs urge the Court to reconsider its ultimate conclusion, vacate its earlier decision,

and conform its reasoning to that used in Al Shimari.

       Plaintiffs in Al Shimari were foreign nationals who were detained and tortured at the

notorious Abu Ghraib prison in Iraq when that prison was under the control of the U.S. military.

The torture was carried out, at least in part, by U.S. civilian contractors employed by CACI

Premier Technology, Inc. (“CACI”), a U.S. corporation. See 758 F.3d at 521-22. The plaintiffs

asserted ATS claims against CACI. Id. at 524. The district court dismissed the ATS claims based

on Kiobel and the presumption against extraterritoriality. Id. The Fourth Circuit reversed, finding

the presumption adequately “displace[d]” by the following facts and circumstances:

               (1) CACI’s status as a United States corporation; (2) the United States
               citizenship of CACI’s employees, upon whose conduct the ATS claims are
               based; (3) the facts in the record showing that CACI’s contract to perform
               interrogation services in Iraq was issued in the United States by the United
               States Department of the Interior, and that the contract required CACI’s
               employees to obtain security clearances from the United States
               Department of Defense; (4) the allegations that CACI’s managers in the
               United States gave tacit approval to the acts of torture committed by CACI
               employees at the Abu Ghraib prison, attempted to “cover up” the
               misconduct, and “implicitly, if not expressly, encouraged” it; and (5) the
               expressed intent of Congress, through enactment of the [Torture Victim
               Protection Act of 1991] and 18 U.S.C. § 2340A, to provide aliens access
               to United States courts and to hold citizens of the United States
               accountable for acts of torture committed abroad.

758 F.3d at 530-31.




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       Al Shimari is not binding on this Court. Nor are the other recent ATS decisions identified

in Plaintiffs’ and KBR’s papers. Nonetheless, the Court has reviewed the cases commended to it,

including Al Shimari, and finds them persuasive in the sense that they indicate how other lower

courts have attempted to give substance to the blank spaces not addressed by the facts in Kiobel.

But whereas the Fourth Circuit found the facts in Al Shimari to sufficiently “touch and concern

the territory of the United States,” this Court is not persuaded that the facts here do the same. For

purposes of clarity, the Court will address Plaintiffs’ arguments one-by-one.

       First, as noted above, the Court does not believe that KBR’s U.S. citizenship obviates the

extraterritoriality analysis. Second, the Court disagrees that KBR’s contract with the U.S.

government shows a relevant connection to the territory of the United States. Kiobel, 133 S. Ct.

at 1669. Third, Plaintiffs’ assertion that the relevant conduct “occurred at a military facility

operated by U.S. military personnel” exaggerates the importance of the Al Asad base in the

circumstances of the case. While Deceased Plaintiffs were unquestionably headed to Al Asad,

their journey was horrifically cut short before they reached the base. And while Mr. Gurung

reached Al Asad, he was first brought from Nepal to Jordan and through Iraq—all foreign

territories not alleged to be under U.S. control.3 Fourth, the Court is not empowered to use the

political branches’ condemnation of human trafficking to ignore territorial limits on enacted

legislation, even if that condemnation is “repeated[]” and “unambiguous[]” and signals a “zero

tolerance” approach to the issue. See id. at 1664-65 (noting that the foreign policy concerns

underlying the presumption against extraterritoriality “are not diminished” in the context of

“alleged violations of international law norms that are ‘specific, universal, and obligatory’”

3
 Because the Al Asad base is not at the heart of Plaintiffs’ ATS claim—unlike the centrality of
Abu Ghraib to the plaintiffs’ ATS claims in Al Shimari—the Court need not decide whether it
constitutes U.S. territory for the purposes of applying the presumption against extraterritoriality,
as argued by Plaintiffs. (Doc. No. 685/686, at 13-14.)
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because “identifying such a norm is only the beginning of defining a cause of action”) (quoting

Sosa v. Alvarez-Machain, 542 U.S. 692, 732 (2004)).

       Plaintiffs raise an additional argument that conceivably moves their case closer to Al

Shimari. They allege that KBR’s U.S.-based managers “covered up” human trafficking, and that

this U.S.-based conduct is sufficient to anchor the ATS claim in the territory of the United States.

As the Court noted in August 2013, Plaintiffs present a genuine issue of material fact as to

whether KBR knowingly obtained trafficked labor during the relevant time period. (Doc. No.

614/617, at 17-18.) But the relevant evidence stems from KBR’s overseas operations. Plaintiffs’

U.S.-based evidence presents a different picture. From emails, reports, and other routine

communications, it appears that KBR’s U.S.-based employees monitored and directed activities

at various Iraqi and Kuwaiti military bases. (E.g., Exs. 13-14, 22, 24-27, 33; Doc. No. 685-3, at

125-141, 180-86, 194-242.) The subject matter of these documents ranges from the mundane

(e.g., chlorine levels in the water) to the vitally important (e.g., an email conversation regarding

whether KBR or its subcontractors were responsible for providing personal defense gear to

subcontracted employees). None of it indicates, however, that KBR’s U.S.-based employees

understood the circumstances surrounding Daoud’s “recruitment” and “supply” of third-country

nationals like Plaintiffs, or that KBR’s U.S.-based employees worked to prevent those

circumstances from coming to light or Daoud’s practices from being discontinued.4



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  Plaintiffs’ most damning piece of evidence—a decision by a U.S.-based employee to “pull” a
consultant from Al Asad after he complained regarding the treatment of third-country nationals
employed by Daoud—suffers from several disconnects to Plaintiffs’ theory of U.S.-based
complicity. Most importantly, at the same time that the U.S.-based manager capitulated to the
instruction of KBR’s on-site base supervisor that the consultant be removed from Al Asad, she
requested an independent investigation into the consultant’s complaints. (Doc. No. 401-8, at 66-
72.) Similarly, complaints from a U.S. Marine regarding ill treatment of third-country nationals
at Al Asad were forwarded through KBR’s U.S.-based employees to on-site base staff with the
following notation: “If true, fixe [sic] it, if not, ignore it.” (Ex. 20; Doc. No. 685-3, at 164-68.)
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       In summary, Plaintiffs have adduced no new legal authority, and identified no error in

law or fact, which disturbs the Court’s conclusion that the relevant conduct by KBR and Daoud

occurred outside of the territory of the United States. Plaintiffs’ motion for rehearing on this

claim must be denied.5

       B.      Plaintiffs’ TVPRA Claim

               1.      Retroactivity of Section 1596

       Extraterritoriality principles have also foreclosed Plaintiffs’ TVPRA claim. As discussed

in the Court’s most recent summary judgment ruling, the TVPRA had no extraterritorial

application at the time of the tragic events recounted above. (Doc. No. 670, at 6-9.) Although

Congress amended the TVPRA in 2008 to provide for extraterritorial application, the Court

found that the relevant provision—18 U.S.C. § 1596—could not be applied retroactively to

KBR’s pre-2008 conduct. (Id. at 10-13.) This was a reversal of the Court’s prior ruling that

Section 1596 was a jurisdiction-enlarging statute which did not implicate retroactivity principles

and could be applied to pending cases such as this one. (Doc. No. 168, at 7-11.) The Court twice

affirmed its retroactivity decision over strenuous objection by Defendants. (Doc. No. 183, at 6-9;

Doc. No. 614/617, at 16.) Only on Defendants’ third sally against the Court’s ruling—a motion

to certify the Court’s initial summary judgment ruling for interlocutory appeal (Doc. No. 631)—

did the Court reverse itself.




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  Plaintiffs alternatively move for leave to amend their complaint in light of Kiobel. (Doc. No.
685/686, at 22-25.) But the Court’s decision was based on the summary judgment record, not on
the pleadings, and Plaintiffs have identified no evidence which was not or could not have been
presented to the Court prior to its ruling. Because amendment would be futile, leave to amend is
denied. Wimm v. Jack Eckerd Corp., 3 F.3d 137, 139 (5th Cir. 1993) (“In deciding whether to
grant leave to file an amended pleading, the district court may consider . . . futility of
amendment.”).
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         Plaintiffs urge the Court to reverse its reversal. They offer several arguments as to how

the Court’s most recent summary judgment ruling gets the retroactivity analysis wrong. (Doc.

No. 673/674, at 6-20.) With the utmost respect to Plaintiffs’ counsel, however, these are not new

arguments. The retroactivity debate—i.e., on which side of the Hughes Aircraft/Republic of

Austria6 line Section 1596 falls—has featured in no fewer than 15 thorough, well-researched

legal briefs provided to the Court in this case. (Doc. Nos. 138, 143, 145, 171, 174, 561/62,

588/593, 601, 631, 638, 643, 673/674, 675, 676, 679.) In three separate orders, the Court

addressed the debate at length. (Doc. Nos. 168, 183, 670.) No purpose can be served by covering

this well-trod ground a fourth time.

         The Court clarifies, however, the role that Morrison v. National Australia Bank Ltd., 561

U.S. 247 (2010), played in its most recent decision. Plaintiffs forcefully argue that the case sheds

no light on whether Section 1596 can be retroactively applied. (Doc. No. 673/674, at 6-9.) The

Court cannot agree. Although its most recent decision not to apply Section 1596 to this pending

case was governed by the standards articulated in Landgraf,7 Hughes Aircraft, and Republic of

Austria, the Court drew upon Morrison for guidance as to how Section 1596 should be classified

under those standards. As previously explained, “a nominally jurisdictional statute” which

“necessarily affects the substantive rights of the parties” cannot be categorized as “mere

procedure;” rather, it represents a substantive change in operative law, thereby “trigger[ing]” the

presumption against retroactivity. (Doc. No. 670, at 12-13.) This decision comports with the

Supreme Court’s acknowledgment in Morrison that whether a federal conduct-regulating statute

is intended to govern extraterritorial conduct is inherently a merits question. See 561 U.S. at 254

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  Hughes Aircraft Co. v. U.S. ex rel. Schumer, 520 U.S. 939 (1997); Republic of Austria v.
Altmann, 541 U.S. 677 (2004).
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    Landgraf v. USI Film Prods., 511 U.S. 244 (1994).
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(“[T]o ask what conduct § 10(b) reaches is to ask what conduct § 10(b) prohibits, which is a

merits question.”). Congress may express that intent through a statute phrased in jurisdictional

terms, as it has in Section 1596. But because Section 1596 “adheres to the [TVPRA] cause of

action in this fashion,” it is “essentially substantive.”8 Republic of Austria v. Altmann, 541 U.S.

677, 695 n.15 (2004).

       Plaintiffs have identified no intervening legal authority which disturbs the Court’s most

recent analysis on the retroactivity of Section 1596. If Plaintiffs are to receive a more favorable

answer on this question, they must seek it from a higher court.

               2.       Applicability of MEJA

                        a.     As to the TVPRA

       Plaintiffs argue, alternatively, that the Military Extraterritorial Jurisdiction Act (“MEJA”)

provides a jurisdictional basis for Plaintiffs’ TVPRA claim. (Doc. No. 673/674, at 20-25.) MEJA

has long been at the periphery of this case, primarily as an alternative justification for finding

that Plaintiffs’ RICO claims could be applied extraterritorially. (Doc. No. 168, at 19-20; Doc.

No. 273, at 33-34.) Plaintiffs only recently began to argue that MEJA also provides an alternative

jurisdictional basis for their TVPRA claims. (Doc. No. 588/593, at 39-40; Doc. No. 638, at 1, 12-

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  Plaintiffs cite In re South African Apartheid Litigation, 15 F. Supp. 2d 454 (S.D.N.Y. 2014), as
persuasive new authority construing Morrison and supporting their argument for reconsideration.
According to Plaintiffs, Judge Scheindlin resolved—correctly—that the Supreme Court in
Morrison “did not intend to shift jurisdictional statutes into the merits column.” (Doc. No. 676,
at 3.) The relevant language from In re South African Apartheid Litigation is contained in a
footnote addressing whether the extraterritorial reach of the ATS should be characterized as a
“merits” question, or a “jurisdictional” one. See 15 F. Supp. 2d. at 461, n.43. The passage has no
bearing on the retroactivity of Section 1596. While both the ATS and Section 1596 are nominally
jurisdictional statutes, they operate very differently. The ATS is a “strictly jurisdictional” statute
which “enabled federal courts to hear claims in a very limited category defined by the law of
nations and recognized at common law.” See Sosa v. Alvarez-Machain, 542 U.S. 692, 712-24
(2004). Section 1596 is not “strictly jurisdictional.” To use Judge Scheindlin’s own language,
Section 1596 is part of a “complex statutory scheme”—the TVPRA. As such, it “adheres” to
Plaintiffs’ substantive cause of action and cannot be applied retroactively under Landgraf.
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13.) The Court rejected the argument; not simply because MEJA is a “murky” area of law, but

because the Court disagreed that MEJA has any implication for the availability and

extraterritoriality of Plaintiffs’ civil TVPRA claim. (Doc. No. 670, at 9 (“MEJA’s provision of

criminal jurisdiction over felony offenses committed abroad does not provide Plaintiffs with an

alternative source of jurisdiction for their civil claims under the TVPRA.”).)

       Plaintiffs have provided no cause for the Court to retreat from its position. MEJA is not

part of the TVPRA. It provides for criminal prosecution of certain felonies committed abroad

“while employed by or accompanying the Armed Forces” or “while a member of the Armed

Forces.” 18 U.S.C. § 3261(a). It appears to be undisputed that Sections 1589 and 1590 of the

TVPRA—the provisions KBR is alleged to have violated—would qualify for prosecution under

MEJA. Plaintiffs argue that MEJA’s limited extraterritorial extension of a host of federal

offenses—including Sections 1589 and 1590 of the TVPRA—can be married with the TVPRA’s

civil remedy provision to provide an alternative “jurisdictional” basis for Plaintiffs’ claim. (Doc.

No. 673/674, at 20-25.)

       Plaintiffs’ argument loses sight of the central inquiry before the Court—whether

Congress, when it enacted the civil remedy provision of the TVPRA, intended it to have

extraterritorial effect. Morrison instructs that Congressional intent must be affirmative and clear.

See 561 U.S. at 255 (“‘[U]nless there is the affirmative intention of the Congress clearly

expressed’ to give a statute extraterritorial effect, ‘we must presume it is primarily concerned

with domestic conditions.’”) (quoting EEOC v. Arabian American Oil Co., 499 U.S. 244, 248

(1991)). Plaintiffs would have this Court find that Congress affirmatively and clearly expressed

its intent to give (limited) extraterritorial effect to the TVPRA’s civil remedy provision first by

reference to the TVPRA’s conduct-regulating provisions and then by reference to an unrelated



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criminal statute which is not part of the TVPRA and is nowhere referenced in the TVPRA. To

the extent this was Congress’s intent, it was neither affirmative nor clear. MEJA does not

provide the answer that Plaintiffs seek.

                       b.      As to RICO

       A recent Second Circuit decision, issued in the RICO-context, deserves special mention

here, although it does not warrant reconsideration of the Court’s rulings in favor of KBR. In

European Community v. RJR Nabisco, Inc., 764 F.3d 129, 136-39 (2d Cir. 2014), the Second

Circuit determined that RICO has extraterritorial reach to the extent that it explicitly incorporates

predicate acts that are themselves explicitly extraterritorial. This Court once reached the same

conclusion as that expressed by the Second Circuit in European Community. (Doc. No. 168, at

19-20; Doc. No. 273, at 32-34.) It reversed its position in 2013, finding that “[n]o language

within RICO clearly indicates that Congress intended the statute to be applied extraterritorially.”

(Doc. No. 614/617, at 14.) This reversal was based in large part on non-binding but persuasive

case law stemming from a 2010 Second Circuit case—Norex Petroleum Ltd. v. Access

Industries, Inc., 631 F.3d 29 (2d Cir. 2010)—which was addressed and clarified in European

Community. See 764 F.3d at 136 (“The district court here construed our rejection in Norex of

arguments that RICO applies extraterritorially in all of its applications as a ruling that RICO can

never have extraterritorial reach in any of its applications. This was a misreading of Norex.”)

(citation omitted).

       European Community is offered by Plaintiffs here, ostensibly as support for its MEJA

argument in the TVPRA context. (Doc. No. 676, at 5-7.) Plaintiffs have not asked the Court to

reconsider its decision to grant summary judgment to KBR on Plaintiffs’ RICO claims. To

obviate any such request, the Court makes clear that reconsideration would not be granted.



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Although European Community conflicts with the Court’s ruling that RICO, as a whole, has no

extracurricular application (Doc. No. 614/617, at 13-14), it does not support reinstatement of

Plaintiffs’ RICO claims. European Community focused on RICO’s explicit incorporation of

certain predicate acts which are themselves explicitly extraterritorial. See 764 F.3d at 136-37.

Were RICO a purely domestic concern, the Second Circuit reasoned, the incorporation of these

extraterritorial activities as predicate acts would be impossible to reconcile. See id. at 136.

       The Second Circuit’s reasoning in European Community assists Plaintiffs only to the

extent that the RICO predicates of which they complain are themselves expressly extraterritorial.

The predicates at issue in this case—Sections 1589 and 1590 of the TVPRA—were not expressly

extraterritorial prior to 2008. (Doc. No. 670, at 6-9.) Plaintiffs have argued that MEJA gives

Sections 1589 and 1590 extraterritorial reach. (Doc. No. 167, at 6-7; Doc. No. 588/593, at 45-

49.) Functionally, it is the same argument they make here in the TVPRA context. And the Court

accepted it before as a basis for finding RICO extraterritorially applicable to Plaintiffs’ claims

(Doc. No. 168, at 19-20; Doc. No. 273, at 33 & n.17), although it expressed hesitation in

“resting” its “jurisdictional finding” on MEJA, “a relatively murky area of the law” (Doc. No.

168, at 20).

       As should be made clear, above, the Court is now persuaded that MEJA is not a “clear

expression” of “affirmative [Congressional] intent” necessary to render either the TVPRA or

RICO extraterritorial. MEJA is not explicitly referenced in either of those statutory regimes. It is

not a predicate act for RICO. See 18 U.S.C. § 1961(1). It is not an offense on which a civil

TVPRA claim can be grounded. See 18 U.S.C. § 1595(a). MEJA is simply not relevant to the

question of whether Congress intended to legislate extraterritorially when it enacted RICO and

the TVPRA—the question that Kiobel and Morrison require this Court to answer.



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IV.     CONCLUSION

        For reasons stated above, the Court DENIES Plaintiffs’ Motion for Rehearing Pursuant

to Fed. R. Civ. P. 54(b) of This Court’s January 2014 Order (Doc. No. 672) and DENIES

Plaintiffs’ Motion for Rehearing on Their ATS Claims against KBR and for Leave to Amend

(Doc. No. 685/686). The parties are ordered to submit a proposed final judgment, agreed as to

form only, by March 30, 2015.

        The Court again notes its profound regret at the outcome of this action. The crimes that

are at the core of this litigation are more vile than anything the Court has previously confronted.

Moreover, the herculean efforts of Plaintiffs’ counsel have been in the highest traditions of the

bar. No lawyer or group of lawyers could have done more or done better. But, the perpetrators of

the subject crimes are not before the Court, and the relief that Plaintiffs seek is not appropriate as

to those who are before the Court.

        IT IS SO ORDERED.

        SIGNED at Houston, Texas, on this the twenty-fourth day of March, 2015.




                                               KEITH P. ELLISON
                                               UNITED STATES DISTRICT JUDGE




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